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             Exhibit "G"
     Filed Under Seal
                                      Case 1:20-cr-00335-TJM Document 45-2 Filed 01/29/21 Page 2 of 2
                                                                                                                                                                                             !

                                                               EVIDENCE COLLECTED ITEM LOG                                                                            Pagelof 1
       FD-886 {Rev. 4-13-15)
                                                           Print Legibly. More than one line may be usedpreach item, if necessary.
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                                                                                                                                                                                        >J
                               Case                                                                                                                                                     LU
                                                                                             Personnel (full names and initials):
                                                                                                                                                                                        2
 Date:     12/12/2019           ID:   305I-AL-3201532
                                                                                              Andrew Zubik             BradTheroux              Brian Seymour        Chris Smith        3
 Location:     144 Main St, Apt 311, New Paltz, NY                                                                                                                                      LU
                                                                                              David Fallon             Frederick Horstmyer      MattHaddad                              a
 Preparer/Assistants:                                                                                                                                                                   6
 SA Andrew Zubik                                                                                                                                                                        <•
                                                                                                                                                                                        CO
                                                                                                                                                                                        13



Item                        Description                              Location                   Specific                        Collected by/            Packaging         Comments
  #
                                                                    (e.g.. Room)                Location                        Observed by               Method           (ifneeded)
            (e.g., One black Samsungflip phone; Serial#)
                                                                                   (e.g.. Specific area w/in room)       (First Name and Last Name))

   1     120GB Black                                            B                  Dresser                               Brian Seymour                   Plastic

                                                                                                                         Andrew Zubik

   2     Hugo Boss Thumb drive                                  B                  Desk                                  Frederick Horstmyer             Plastic

                                                                                                                         Brad Theroux

   3     sandisk cruzer 16GB                                    B                  Desk                                  Frederick Horstmyer             Plastic

                                                                                                                         BradTheroux

         IPAD DMPXD0HJJF8N                                      B                  Desk                                  Frederick Horstmyer             Plastic
   4

                                                                                                                         Brad Theroux

   5     IPAD DMQHP12UDVD2                                      B                  Dresser                               Frederick Horstmyer             Plastic

                                                                                                                         BradTheroux

   6     Deli FN47R32                                           B                  Desk                                  Brian Seymour                    Paper

                                                                                                                         Chris Smith

   7     Iphone FFMXQOZYKPHH                                    B                  Dresser                               Brian Seymour                    Plastic

                                                                                                                         Chris Smith
